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                      IN THE UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF DELAWARE

  KURT MORALES II, BRANDON
  CALLIER, LUCAS HORTON, individually,
  and on behalf of all others similarly situated,
                 Plaintiffs,
                                                    Case No.: 20-cv-01376-RGA-JLH
          v.
  SUNPATH LTD., a Delaware corporation,
  NORTHCOAST WARRANTY SERVICES,
  INC., a Delaware corporation, AMTRUST
  NORTH AMERICA, INC., a Delaware
  corporation, SING FOR SERVICE, LLC, a
  Delaware limited liability company, and
  PELICAN INVESTMENT HOLDINGS
  LLC, a Delaware limited liability company,

                 Defendants.



                        MOTION FOR LEAVE TO WITH WITHDRAW
                       AS COUNSEL TO DEFENDANT SUNPATH LTD.

         Michael W. McDermott, Esquire, David Anthony, Esquire, Peter McGivney, Esquire, and

  Berger McDermott, LLP (collectively, “Withdrawing Counsel”), hereby move the Court for leave

  to withdraw as counsel of record for defendant Sunpath Ltd. in the above-captioned action.

  Withdrawing Counsel moves pursuant to the Delaware Lawyers’ Rules of Professional Conduct

  Rule 1.16(b)(4) and Rule 1.16(b)(5), and for other reasons of professional consideration. The

  relationship between Withdrawing Counsel and Sunpath is irreparable as there exists a

  fundamental disagreement between Withdrawing Counsel and Sunpath concerning the scope and

  requirements of the representation. Withdrawing Counsel and Sunpath cannot reconcile their

  disagreement, therefore withdrawal is necessary and appropriate in accordance with Rule

  1.16(b)(4).   As a result of the disagreement between Withdrawing Counsel and Sunpath,

  Withdrawing Counsel can no longer make representations on Sunpath’s behalf. In addition,
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  Sunpath has not abided by its contractual obligations owed to Withdrawing Counsel and has

  stopped paying for Withdrawing Counsel’s services. For this reason, too, Withdrawing Counsel is

  permitted to withdraw from the representation in accordance with Rule 1.16(b)(5).

         Sunpath has indicated to Withdrawing Counsel that it does not oppose this motion. Neither

  Sunpath nor Plaintiffs will be prejudiced by Withdrawing Counsel’s withdrawal because there are

  no immediate case scheduling deadlines and Sunpath could engage replacement counsel without

  causing delay to the case schedule.1 Conversely, Withdrawing Counsel will be prejudiced if this

  motion is not granted because we would be required to represent a client with which there is a

  fundamental disagreement concerning the scope and requirements of the representation, while at

  the same time not being compensated for such representation.

         WHEREFORE, for good cause shown, Withdrawing Counsel respectfully requests that the

  Court grant the motion and enter an Order in substantial conformity with the form of Order filed

  contemporaneously herewith.

                                               BERGER HARRIS LLP

                                               /s/ David B. Anthony
                                               Michael W. McDermott, Esq. (DE I.D. 4434)
                                               David B. Anthony, Esq. (DE I.D. 5452)
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                                               Withdrawing attorneys for Sunpath Ltd.

  Dated: December 13, 2023



  1
   There is a discovery dispute teleconference scheduled for December 21, 2023 in this matter. [D.I.
  210].
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